The court incorporates by reference in this paragraph and adopts as the findings and orders
of this court the document set forth below. This document was signed electronically at the
time and date indicated, which may be materially different from its entry on the record.




         Dated: 11:42 AM December 9, 2021




                                    United States Bankruptcy Court
                                       Northern District of Ohio
                                      Eastern Division at Canton


In re:                                                 *       Case No. 20-60084
                                                       *
Robert Erich Licht, Jr                                 *       Chapter 13
                                                       *
          Debtor                                       *       Judge Russ Kendig
                                                       *
**************************************************************

               ORDER GRANTING DEBTORS’ APPLICATION FOR OFFLINE

          The Court having considered the Motion filed by Attorney James F. Hausen, the Court finds that:

          Notice of the motion has been given to parties in interest according to law

         It is therefore ORDERED that the Motion is sustained and an offline in the amount of $1062.00
shall be returned to the Debtor.

                                                     ###



Submitted by:
James F. Hausen(0073694)
Attorney for Debtor
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20-60084-jpg         Doc 41      FILED 12/09/21        ENTERED 12/09/21 12:17:12              Page 1 of 2
Phone 234-678-0626
Fax 234-201-6104


Parties to be served by electronic mail via ECF:

       Dynele Schinker-Kuharich, Chapter 13 Trustee
       James F. Hausen, Attorney for Debtor

Parties to be served by regular U.S. Mail:

       None




                                                   2


20-60084-jpg      Doc 41    FILED 12/09/21         ENTERED 12/09/21 12:17:12   Page 2 of 2
